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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE

                            CRIMINAL ACTION NO. 3:10CR-107-H


 UNITED STATES OF AMERICA                                                           PLAINTIFF

 V.

 SHANION M. THURMAN
 JAMES L. ROBINSON                                                                 DEFENDANTS


                          MEMORANDUM OPINION AND ORDER

        The Government has made pretrial motions for the admissibility of certain recorded

 jailhouse telephone conversations and for the testimony of a confidential source. All of which is

 to be used against Defendants in this case. The Court referred the matter to the Magistrate Judge

 who has produced a comprehensive seventy-four (74) page report and recommendation

 addressing each matter at issue.

        The charges against Thurman and Robinson are that they conspired to use or attempt to

 use force and threats against a potential witness (“ G.S.”) to prevent his testimony against Ricky

 Kelly in his murder trial. Thurman was an administrative assistant in the office of Kate Holmes,

 G.S.’s attorney. In that capacity she had access to many of his confidential attorney-client

 materials. Thurman resided with Robinson in a house at 525 Belgravia Court in Louisville.

 Moreover, Robinson was apparently a long-time friend of Kelly.

        Two types of evidence are involved here: (1) sixteen (16) jailhouse phones between

 Kelly, an inmate at the Green River Correctional Complex and several other individuals on the

 outside, and (2) testimony of a cooperating witness (“C.S.”) regarding conversations with

 Robinson while he was incarcerated in the Franklin County jail.
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        The Government did not object to the rulings against it. Both Thurman and Robinson did

 file objections. Thurman focused upon the Magistrate Judge’s admission of the recorded

 statements in Exhibits 8 (A and B) and 12 because she would be unable to confront Robinson,

 the witness whose statements would be used against her. Robinson argues that the rulings are

 premature, that all 16 recorded statements are testimonial in nature and also makes other specific

 objection to particular recorded calls and jailhouse conversation testimony from C.S.

        The Court has carefully reviewed the Magistrate Judge’s recommendations and the

 objections to it. It is fair to say that these are reasonably nuance issues, the resolution of which

 could depend upon the credibility of other testimony and which rely upon foundations

 established by other witnesses. Consequently, at best, these rulings must be considered

 provisional pending actual testimony at trial. The Court does not mean to suggest that the

 rulings are likely to change, only that the underpinning of them rest upon the assumption about

 certain trial testimony. Thus, the Court would retain the right to refine and revise any rulings

 here as the trial approaches and proceeds.

        Having said all this, the Court concludes that it agrees substantially with the Magistrate

 Judge’s analysis and that no further comment is necessary or helpful. Therefore, the Court will

 adopt the Magistrate Judge’s recommendations in full at this time.

        Being otherwise sufficiently advised,

        IT IS HEREBY ORDERED that the Magistrate Judge’s report and recommendation is

 ADOPTED in full and that that report will guide the Court’s admission of evidence at trial.




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       January 4, 2013
       This _____ day of January, 2013.




                                              ___________________________________
                                              JOHN G. HEYBURN II
                                              JUDGE, U.S. DISTRICT COURT

 cc:   Counsel of Record
       Magistrate Judge Dave Whalin




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